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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     (at Lexington)

    UNITED STATES OF AMERICA,                     )
                                                  )
           Plaintiff,                             )         Criminal Action No. 5: 22-010-DCR-1
                                                  )
    V.                                            )
                                                  )
    JE’VON BYRD,                                  )            MEMORANDUM OPINION
                                                  )                AND ORDER
           Defendant.                             )

                                      ***   ***       ***    ***

         Defendant Je’Von Byrd has moved for an order directing the United States to provide

a bill of particulars pursuant to Rule 7(f) of the Federal Rules of Criminal Procedure. [Record

No. 67] The motion was referred to United States Magistrate Judge Matthew A. Stinnett for

preparation of a Report and Recommendation pursuant to 28 U.S.C. § 636(b)(1)(B).

Magistrate Stinnett issued his report on July 11, 2022, recommending that the Court deny the

motion. [Record No. 83, p. 1] The Court has conducted a de novo review of the matter and

agrees with the magistrate judge’s assessment. Accordingly, Byrd’s motion will be denied.

         Byrd was arrested in this matter on April 7, 2021, as the result of a controlled purchase

operation undertaken by the Lexington Police Department. 1 [Record No. 1] A federal grand

jury returned an indictment against Byrd on February 17, 2022. [Id.] Thereafter, a superseding

indictment was filed on May 5, 2022, and a second superseding indictment followed on June

2, 2022. [Record No. 41; Record No. 60] The second superseding indictment charges Byrd



1
      The details regarding Byrd’s arrest are described in full in the Court’s Memorandum
Opinion and Order denying his motion to suppress. [See Record No. 49, p. 2–5.]
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with one count of conspiring to distribute 100 grams or more of a mixture or substance

containing a detectable amount of fluorofentanyl, one count of possessing with the intent to

distribute 100 grams or more of a mixture or substance containing a detectable amount of

fluorofentanyl, one count of possessing a firearm in furtherance of a drug trafficking crime,

and one count of possessing a firearm as a prohibited person (i.e., after being convicted of a

felon offense). [Record No. 60, p. 1–3]

       Byrd’s present motion focuses on the conspiracy charge. [Record No. 67, p. 1] He

seeks: (i) the “date of the earliest statement and/or event upon which the prosecution will rely

to prove” the conspiracy’s existence; (ii) the “nature of any and all statements and/or events .

. . upon which the prosecution intends to rely to prove” the conspiracy’s existence; (iii) the

“date and nature of the earliest statement and/or event upon which the prosecution will rely to

establish when each defendant joined” the conspiracy; and (iv) the “date and nature of the

earliest statement and/or event upon which the prosecution will rely to establish when Je’Von

Byrd joined” the conspiracy. [Id.]

       Rule 7(f) of the Federal Rules of Criminal Procedure provides that district courts “may

direct the government to file a bill of particulars . . . subject to such conditions as justice

requires.” Fed. R. Crim. P. 7(f). The purpose of such a bill is to assist a defendant in obtaining

“the information needed to prepare a defense and to preclude a second prosecution for the same

crimes.” United States v. Salisbury, 983 F.2d 1369, 1375 (6th Cir. 1993). However, a bill of

particulars is not “meant as a tool for the defense to obtain detailed disclosure of all evidence

held by the government before trial.” Id.

       In resolving this motion the Court must consider “whether providing [the requested]

details is necessary to the preparation of the defense and avoidance of judicial surprise.”
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United States v. Musik, 291 F. App’x 706, 724 (6th Cir. 2008); see also United States v.

Barreto-Rivera, No. CRIM 06–117, 2006 WL 2464164, at *4 (D. P.R. July 10, 2006) (A bill

of particulars need only be granted “if the accused, in the absence of a more detailed

specification, will be disabled from preparing a defense, caught by unfair surprise, or hampered

in seeking the shelter of the Double Jeopardy Clause.”). An indictment passes muster if it

“contains the elements of the offense charged and fairly informs a defendant of the charge

against which he must defend.” United States v. Landham, 251 F.3d 1072, 1079 (6th Cir.

2001). In the context of an alleged 21 U.S.C. § 846 drug conspiracy—as here—federal courts

generally sustain indictments that track the language of the statute and “do little more than

state time and place in approximate terms.” United States v. Dames, 386 F. Supp. 2d 523, 524

(S.D.N.Y. 2005).

       Byrd argues that the information he seeks is “absolutely necessary to permit [him] to

adequately prepare a defense to the conspiracy alleged in Count One.” [Record No. 67-1, p.

2] He notes that the indictment “fails to state any of the alleged overt acts necessary to support

the government’s charge that a conspiracy existed and that Je’Von Byrd was involved in it.”

[Id.] However, as Magistrate Judge Stinnett concluded, the indictment adequately informs

Byrd of the charge against him and that the additional information he seeks is not necessary

for preparation of his defense. [Record No. 83, p. 2–3] After review, the Court agrees with

these conclusions.

       An indictment under 21 U.S.C. § 846 is sufficient if “it alleges ‘a conspiracy to

distribute drugs, the time during which the conspiracy was operative and the statute allegedly

violated, even if it fails to allege any specific act in furtherance of the conspiracy.’” United

States v. Sweeney, 688 F.2d 1131, 1140 (7th Cir. 1982) (emphasis added) (quoting United
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States v. Bermudez, 526 F.2d 89, 94 (2nd Cir. 1975)). Here, the second superseding indictment

meets these requirements. [See Record No. 60.] It alleges that there was a conspiracy to

distribute Schedule I and Schedule II controlled substances (namely fentanyl, fluorofentanyl,

methamphetamine and cocaine), identifies several members of the alleged conspiracy, and lists

the amount of substances directly attributable to Byrd (“100 grams or more of a mixture . . .

containing a detectable amount of fluorofentanyl”). [Id., p. 1–2] It also indicates the time

during which the alleged conspiracy was operative. [Id., p. 1 (“Beginning in or about January

2021, the exact date unknown, and the continuing through in or about May 2022, the exact

date unknown.”)] And finally, it provides the statute allegedly violated. [Id. (“[I]n violation

of 21 U.S.C. § 841(a)(1), all in violation of 21 U.S.C. § 846.”)] Nothing more is required.

       And while Byrd challenges the indictment’s failure to “state any of the alleged overt

acts necessary to support the government’s charge,” again, the magistrate judge correctly noted

that such proof is not required. [Record No. 67-1, p. 2; Record No. 83, p. 3–4] An alleged

drug conspiracy under 21 U.S.C. § 846 is an inchoate offense, and its elements do not include

any overt act. See United States v. Shabani, 513 U.S. 10, 15 (1994) (“In order to establish a

violation of 21 U.S.C. § 846, the Government need not prove the commission of any overt acts

in furtherance of the conspiracy.”). Therefore, the failure to allege any overt acts in the

indictment is immaterial.

       The remainder of the information requested by Byrd is neither necessary to prepare a

defense nor to avoid prejudicial surprise. See Musik, 291 F. App’x at 724. His request for the

date and nature of “any and all statements and/or events” upon which the prosecution will rely

is “tantamount to a request for ‘wholesale discovery of the Government’s evidence.’” United

States v. Cheatham, 500 F. Supp. 2d 528, 533 (W.D. Pa. 2007) (quoting United States v.
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Armocida, 515 F.2d 49, 54 (3d Cir. 1975)). Such a request for the factual details of the United

States’ expected proof clearly exceeds the proper bounds of a bill of particulars. United States

v. Reid, No. 07-110, 2008 WL 11414538, at *2 (E.D. Ky. Feb. 26, 2008); see also Musick, 291

F. App’x at 724 (“A defendant is not entitled to a bill of particulars if the purpose of the bill is

to obtain a list of the Government’s witnesses or to discover all of the overt acts that might be

proven at trial.”) Further, despite Byrd’s request, a defendant may not use a bill of particulars

to determine the exact date of his entry into a conspiracy. Cheatham, 500 F. Supp. 2d at 533

(citing United States v. DiCesare, 765 F.2d 890, 897–98 (9th Cir. 1985)).

       Regarding prejudicial surprise, Byrd cannot seriously suggest that without this

information he is unable to discern the kind of proof that the United States will use against

him. The record reveals several instances where the government has presented both testimony

and exhibits detailing the allegations against Byrd, including at contested detention and

suppression hearings. [See Record Nos. 15, 21, 31, 35, 49.] Additionally, the United States

has already produced to Byrd a substantial amount of discovery, including “case reports, search

warrants, police body worn camera video, jail call evidence, lab reports, digital forensic

examination reports, and cellular Cellebrite reports.” [Record No. 77, p. 2–3]

       Based on the foregoing, it is hereby

       ORDERED as follows:

       1.      United States Magistrate Judge Stinnett’s Report and Recommendation [Record

No. 83] is ADOPTED IN FULL and INCORPORATED here by reference.

       2.      Defendant Je’Von Byrd’s motion for a bill of particulars [Record No. 67] is

DENIED.



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    Dated: July 28, 2022.




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